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 5   (Fax) 388-6261
 6   Attorneys for Defendant
 7
 8                                 UNITED STATES DISTRICT COURT
 9                                          DISTRICT OF NEVADA
10                                                  ***
11
12    UNITED STATES OF AMERICA,                            2:11-cr-396-KJD-PAL

13                            Plaintiff,                   UNOPPOSED MOTION TO CONDUCT
                                                           A PRE-PLEA PRESENTENCING
14    vs.                                                  INVESTIGATION REPORT AND
                                                           PROPOSED ORDER
15    GERARDO ORETEGA,

16                            Defendant.

17
18                  COMES NOW, appointed counsel, Raquel Lazo, Assistant Federal Public Defender,

19   hereby moves this Court request a Pre-Plea Pre-Sentence Investigation Report be prepared by the

20   Probation department.

21                  1.       The defendant is facing a 10 year mandatory minimum in this case. It appears

22   that he is facing time in excess of the minium.

23                  2.       There is currently a proposed plea offer in this case. However, it is unclear

24   as to what defendant’s criminal history category score is. The parties disagree as to this sole issue.

25   A pre-plea presentence report will help promote continued negotiations. It will further promote

26   judicial economy and aid in the manner in which this case is ultimately resolved.

27                  3.       Undersigned counsel therefore respectfully requests an order that the

28   Department of Probation conduct a pre-plea presentence investigation report as soon as possible.

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 1                  4.     Undersigned counsel has spoken to the prosecutor, Assistant United States
 2   Attorney Cristina Silva regarding this request and he has no opposition
 3                  DATED this 10th day of August, 2012.
 4                                                       RENE L. VALLADARES
                                                         Federal Public Defender
 5
                                                         /s/ Raquel Lazo
 6
                                                         ____________________________
 7                                                       RAQUEL LAZO
                                                         Assistant Federal Public Defender
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 7                               UNITED STATES DISTRICT COURT
 8                                         DISTRICT OF NEVADA
 9
      UNITED STATES OF AMERICA,                        2:11-cr-396-KJD-PAL
10
                            Plaintiff,
11                                                     ORDER
      vs.
12
      GERARDO ORTEGA,
13
                            Defendant.
14
15                 IT IS HEREBY ORDERED that the Probation Department will prepare a Pre-Plea

16   Pre-Sentence Investigation Report on Defendant Gerardo Ortega.
                                         10th
17                 DATED this the ____ day of August, 2012.

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20                                                      __________________________
                                                        DISTRICT COURT JUDGE
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 1                          CERTIFICATE OF ELECTRONIC SERVICE
 2
                    The undersigned hereby certifies that she is an employee of the Law Offices of the
 3
     Federal Public Defender for the District of Nevada and is a person of such age and discretion as to
 4
     be competent to serve papers.
 5
                    That on August 10, 2012, she served an electronic copy of the above and foregoing
 6
     UNOPPOSED         MOTION        TO     CONDUCT         A    PRE-PLEA        PRESENTENCING
 7
     INVESTIGATION REPORT AND PROPOSED ORDER
 8
     by electronic service (ECF) to the person named below:
 9
10                         DANIEL BOGDEN
                           United States Attorney
11                         333 Las Vegas Blvd. So., 5th Floor
                           Las Vegas, Nevada 89101
12
                           CRISTINA SILVA
13                         Assistant United States Attorney
                           333 Las Vegas Blvd. So. 5th Floor
14                         Las Vegas, NV 89101
15
16                                                /s/ Karen Brokaw
                                                  _________________________________
17                                                Employee of the Federal Public Defender
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